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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SEKIGUCHI CO., LTD.,

        Plaintiff,                                         Case No.: 1:19-cv-1443

   v.                                                      Judge Matthew F. Kennelly

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Jeffrey T. Gilbert
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                 262                        The global village Business Company


DATED: August 5, 2019                                Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
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                                                     Oak Park, Illinois 60302
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                                                     ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 5, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
